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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION

 THE HANOVER INSURANCE                             §
 COMPANY                                           §
                                                   §
       Plaintiff,                                  §
                                                   §
 v.                                                §
                                                   §   Civil Action No. 22-537
 MILCO CONSTRUCTION, LLC,                          §
 ARMANDO A. ARANDA, JR., AND                       §
 SARA Y. ARANDA                                    §
                                                   §
       Defendant.                                  §



                          PLAINTIFF’S ORIGINAL COMPLAINT



       Plaintiff The Hanover Insurance Company (the “Surety”) complains of Milcon

Construction, LLC, Armando A. Aranda, Jr., and Sara Y. Aranda (collectively, the “Defendants”)

and respectfully states as follows:

                                            I.     PARTIES

       1.      Plaintiff The Hanover Insurance Company is a New Hampshire company

authorized to do business in the state of Texas.

       2.      Defendant Milcon Construction, LLC is a domestic limited liability company with

its principal place of business located at 225 E. Locust Street, San Antonio, Texas 78212. Armando

A. Aranda Jr. is the sole managing member of Milcon and is a Texas resident. Milcon may be

served with process through its registered agent, Armando A. Aranda Jr., at 225 E. Locust Street,

San Antonio, Texas 78212.




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         3.    Defendant Armando A. Aranda, Jr. is a citizen and resident of the State of Texas

who may be served with process at his residence located at 8806 Chulan Pass, San Antonio, Texas

78255.

         4.    Defendant Sara Y. Aranda is a citizen and resident of the State of Texas who may

be served with process at his residence located at 8806 Chulan Pass, San Antonio, Texas 78255.

                              II.     STATEMENT OF JURISDICTION

         5.    The jurisdiction of this Court over the subject matter of this action is predicated on

28 U.S.C. § 1332. The parties are diverse, and the amount in controversy exceeds $75,000,

exclusive of interest and costs.

                                            III.   VENUE

         6.    Venue is proper in the United States District Court for the Western District of

Texas, San Antonio Division, under 28 U.S.C. § 124(d)(4) and 28 U.S.C. § 1391(b)(1) because

one or more of the Defendants resides in the Western District of Texas, San Antonio Division, and

all the Defendants are residents/citizens of the State of Texas.

                                    IV.   FACTUAL BACKGROUND

         7.    The Surety issued performance and payment bonds on behalf Milcon Construction,

LLC (“Milcon”) in connection with improvements to be performed on a construction project

located in Hilo, Hawai’i. The Surety issued the following bond (the “Bond”), for the following

project (the “Project”) and obligee (the “Obligee”):

  BOND NO.                     PROJECT                        OBLIGEE            PENAL LIMIT

    1045301             Pohakula Training Area              United States of       $132,703,000
                           (the “Project”)                     America

         8.    On or about April 1, 2015, to induce the Surety to issue the Bonds, the Defendants

executed a General Agreement of Indemnity (the “Indemnity Agreement”) in favor of the Surety



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for any and all loss or expenses the Surety incurs in connection with issuing the Bonds. A true and

correct copy of the Indemnity Agreement is attached hereto as Exhibit “A” and fully incorporated

herein for all purposes.

       9.      Section II. of the Indemnity Agreement provides, in pertinent part, the following:

               Indemnity. The Indemnitors shall exonerate, indemnify, keep indemnified
               and hold harmless the Surety from and against any and all liability,
               demands, losses, claims, suits, judgments, fees, costs and expenses of
               whatsoever kind or nature (including, but not limited to pre and post-
               judgment interest, court costs, consultant and counsel fees and expenses)
               which the Surety may pay, sustain or incur by reason of or in any manner
               as a consequence of any one or more of the following: a) being requested to
               execute or procure any Bonds; b) having executed or procured the execution
               of any Bonds; c) the Indemnitors’ failure to perform or comply with this
               Agreement or any other agreement with the Surety; d) enforcing any of the
               covenants of this Agreement or any other agreement between the
               Indemnitors and the Surety; e) the Surety's cost of investigation of any
               claim, demand, suit, notice or circumstance which may give rise to liability
               on the part of the Surety in connection with any Bonds, this Agreement or
               any other agreement between the Indemnitors and the Surety; f) in
               defending any suit, action, mediation, arbitration or any other proceedings
               to obtain release from liability, whether the Surety, in its sole and absolute
               discretion, elects to employ its own attorneys or permits the Indemnitors to
               defend the Surety and whether the Surety, in its sole and absolute discretion,
               elects to make a compromise settlement of a contested liability in
               connection with any Bonds; or g) The Surety's subrogation costs and
               expenses.

       10.     Section III. of the Indemnity Agreement provides, in pertinent part, the following:

               Payment. Payment shall be made by the Indemnitors to the Surety,
               immediately upon demand by the Surety, in the amount of any liability,
               whether such liability is contingent or noncontingent, disputed or
               undisputed, and/or whether or not the Surety shall have established a reserve
               or made any payments therefor.

       11.     In 2016, Milcon entered into subcontract agreements (collectively, the

“Subcontracts”) with DYC Electric SRVC, LLC (“DYC”) for the Project. On May 15, 2020,


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DYC instituted a lawsuit against Milcon and Hanover contending Milcon failed to pay for labor

and materials delivered to the Project.

       12.     By application of the binding arbitration provision in the Subcontracts, the parties

initiated an arbitration proceeding that resulted in an arbitration award in favor of DYC in the

amount of $468,465 (the “Arbitration Award”). On December 21, 2021, the federal court

confirmed the Arbitration Award and entered judgment against Milcon in the amount of $468,465

(the “Judgment”).

       13.     In connection to the Bonds, the Surety remitted payments in the amount of

$190,250 and $468,485 to satisfy the terms and conditions of the payment bonds and applicable

law. The Surety also incurred other expenses related to the loss payments.

       14.     The Surety issued a written demand to the Defendants on November 29, 2021,

notifying them of the Arbitration Award. Pursuant to the terms of the Indemnity Agreement, the

Surety demanded the Defendants to satisfy the award or deposit monies with the Surety in the

amount of $500,000 to indemnify Surety of the loss under the Bond. A true and correct copy of

the November 29, 2021, demand is attached hereto as Exhibit “B” and fully incorporated herein

for all purposes.

       15.     The Defendants failed and refused, and continue to fail and refuse, to comply with

the demands of the Surety.

       16.     As of the filing of this Original Complaint, the Surety has incurred a loss under the

Bonds in excess of $658,735.

       17.     All conditions precedent to recovery by the Surety from Milcon have occurred or

have been performed.




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                                     V.    CAUSES OF ACTION

                            Count I – Breach of Indemnity Agreement

          18.    The Surety hereby restates the facts contained in the foregoing Paragraphs of its

Original Complaint as if fully set forth herein.

          19.    Milcon has failed, delayed, refused, or is unable to complete the Projects and/or

pay bills or other indebtedness incurred in connection with the Projects for which the Bonds were

issued.

          20.    Despite demand, the Defendants failed and/or refused to pay the Surety an amount

sufficient to discharge claims against the Surety from having issued the Bonds.

          21.    The wrongful acts of the Defendants set forth in paragraphs 16 and 17 constitute

independent defaults and breaches of the Indemnity Agreement.

          22.    Under the Indemnity Agreement, the Defendants are liable to the Surety for all of

the Surety’s loss and expense, including attorney fees, in connection with claims on the Bonds.

                               Count II – Common Law Indemnity

          23.    The Surety hereby restates the facts contained in the foregoing Paragraphs of its

Original Complaint as if fully set forth herein.

          24.    The Surety has been called upon as a surety for Milcon to complete performance of

Milcon’s work on the Projects and/or to pay for Milcon’s alleged defaults under the Bonds.

          25.    Milcon benefitted from the Surety’s posting of the Bonds, as Milcon could not have

performed the contracts for which the Bonds were issued without the Bonds.

          26.    Under the theories of common law indemnity, unjust enrichment, and restitution,

the Surety is entitled to payment by Milcon for all of the Surety’s loss and expense resulting from

issuance of the Bonds.




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                                     Count III – Exoneration

       27.     The Surety hereby restates the facts contained in the foregoing Paragraphs of its

Original Complaint as if fully set forth herein.

       28.     The Defendants are liable to the Surety under the Indemnity Agreement for all

amounts necessary to exonerate the Surety from liability asserted against it.

                  Count IV – Specific Performance of Indemnity Agreement

       29.     The Surety hereby restates the facts contained in the foregoing Paragraphs of its

Original Complaint as if fully set forth herein.

       30.     The Surety requests that the Court compel Milcon to provide the Surety with access

to their books, records, and accounts and other documents identified in Section IX of the Indemnity

Agreement so that the Surety may determine any additional exposure under the Bonds.

       31.     The Surety also requests that the Court compel Milcon to assign all their rights to

payment of any contract balance, retainage, or other sum due under any construction contract

bonded by the Surety pursuant to the provisions of the Indemnity Agreement.

                      Count V – Recovery of Attorney Fees and Expenses

       32.     The Surety hereby restates the facts contained in the foregoing Paragraphs of its

Original Complaint as if fully set forth herein.

       33.     The Surety is entitled to recover its attorney fees and expenses from Milcon under

the Indemnity Agreement or, alternatively, under § 38.001, et seq. of the Texas Civil Practice &

Remedies Code.




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                                  REQUEST FOR RELIEF

       For the foregoing reasons, Plaintiff The Hanover Insurance Company respectfully requests

that Milcon be cited to appear and answer herein and, upon final trial thereof, that the Surety

receive:

              (a) Judgment against the Defendants, jointly and severally, in the amount
                  of damages incurred by the Surety;

              (b) Judgment against the Defendants, jointly and severally, for amounts
                  necessary to exonerate the Surety from all liability assessed against it;

              (c) An order of the Court compelling the Defendants to perform its
                  obligations under the Indemnity Agreement;

              (d) Attorney fees and expenses;

              (e) Pre- and post-judgment interest at the maximum rate permissible at law
                  or in equity;

              (f) Costs of court; and

              (g) Such other and further relief to which the Surety may be justly entitled.


                                            Respectfully submitted,

                                            WEINSTEIN RADCLIFF PIPKIN LLP

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